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                                                                                                            AP
                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                                                                                           Jul 22, 2019
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303
                                                                                                                   MIAMI
  David J. Smith                                                                       For rules and forms visit
  Clerk of Court                                                                       www.ca11.uscourts.gov


                                              July 22, 2019

   John Anthony Greco
   Office of the Miami City Attorney
   444 SW 2ND AVE STE 945
   MIAMI, FL 33130-1910

   Appeal Number: 19-12733-B
   Case Style: Francois Severe v. Antonio Torres, IV
   District Court Docket No: 1:17-cv-22153-DPG

   This Court requires all counsel to file documents electronically using the Electronic Case
   Files ("ECF") system, unless exempted for good cause.

   The referenced case has been docketed in this court. Please use the appellate docket number
   noted above when making inquiries.

   Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
   this court or for this particular proceeding pursuant to 11th Cir. R. 46-1. In addition, all
   attorneys (except court-appointed counsel) who wish to participate in this appeal must complete
   and return an appearance form within fourteen (14) days. Application for Admission to the Bar
   and Appearance of Counsel Form are available on the Internet at www.ca11.uscourts.gov. The
   clerk may not process filings from an attorney until that attorney files an appearance form. See
   11th Cir. R. 46-6.

   11th Cir. R. 33-1(a) requires appellant to file a Civil Appeal Statement in most civil appeals.
   You must file a completed Civil Appeal Statement, with service on all other parties, within 14
   days from the date of this letter. Civil Appeal Statement forms are available on the Internet at
   www.ca11.uscourts.gov, and as provided by 11th Cir. R. 33-1(a).

   Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
   Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
   CIP within 14 days after the date the case or appeal is docketed in this court;
   Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case
   or appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP.
   See FRAP 26.1 and 11th Cir. R. 26.1-1.
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   On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
   complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
   filers (except attorneys appearing in particular cases as pro se parties) are not required or
   authorized to complete the web-based CIP.

   Pursuant to Eleventh Circuit Rule 42-1(b) you are hereby notified that upon expiration of (14)
   days from this date, this appeal will be dismissed by the clerk without further notice unless the
   default(s) noted below have been corrected:

   File a Transcript Information Form, as required by Fed.R.App.P. 10(b)(1); a Transcript
   Information Form is available from the district court clerk. Appellant is required to file and
   serve copies of the form in accordance with the instructions included on the form. UNLESS A
   TRANSCRIPT IS ORDERED, APPELLANT'S BRIEF MUST BE SERVED AND FILED
   WITHIN 40 DAYS FROM 7/16/2019. See 11th Cir. R. 12-1 and 31-1.

   MEDIATION. If a Civil Appeal Statement is required to be filed, your appeal and all related
   matters will be considered for mediation by the Kinnard Mediation Center. The mediation
   services are free and the mediation process is confidential. You may confidentially request
   mediation by calling the Kinnard Mediation Center at 404-335-6260 (Atlanta) or 305-714-1900
   (Miami). See 11th Cir. R. 33-1.



   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Craig Stephen Gantt, B
   Phone #: 404-335-6135

                                                                    DKT-2 Appeal WITH Deficiency
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                    CASE NO.: 17-cv-22153-DPG

  FRANCOIS SEVERE, as Personal
  Representative of the estate of
  FRITZ SEVERE,

                 Plaintiff,

         vs.

  CITY OF MIAMI and
  ANTONIO VICENTE TORRES, IV,
  individually and in his capacity as a City
  of Miami police officer,

              Defendants.
  _________________________________/

                              NOTICE OF INTERLOCUTORY APPEAL

         NOTICE      IS       HEREBY    GIVEN     that   ANTONIO      VICENTE   TORRES,    IV,

  Defendant/Appellant in the above captioned case, hereby appeals to the United States Circuit

  Court of Appeals for the Eleventh Circuit from the Order on Defendants’ Motion for Summary

  Judgment [D.E. 108] entered on June 25, 2019, which denied qualified immunity. A copy of that

  Order is attached hereto as “Exhibit A.”

                                                Respectfully submitted,

                                                VICTORIA MÉNDEZ, City Attorney
                                                JOHN A. GRECO, Deputy City Attorney
                                                CHRISTOPHER A. GREEN,
                                                Senior Assistant City Attorney
                                                Attorneys for Defendants
                                                444 S.W. 2nd Avenue, Suite 945
                                                Miami, FL 33130-1910
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